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 AO 399 (01/09) Waiver of the Service of Summons



                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                            Southern District of Texas

UNITED STATES OF AMERICA AND THE STATE OF TEXAS
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )    Civil Action No.4: 18-cv-3368
                 CITY OF HOUSTON, TEXAS                                       )
                              Defendant                                       )

                      WAIVER OF THE SERVICE OF SUMMONS

 To: Nathaniel Douglas, attorney for the United States of America
              (Name of the plaintiff's attorney or unrepresented plaintiff)


         I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from                09/21/2018            , the date when this request was sent (or 90 days if it was sent outside the
 United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:     9/22111
                   CITY OF HOUSTON                                                 ~~~~~~~------
         Printed name of party waiving service of summons
                                                                                   100JPMo'YCIIl Chase-lOwer
                                                                                   1I00 Tr4.vís Stelú, Ho~ton                            Tx '1100Z
                                                                                                                   Address

                                                                                   db4Kcr® Mlie,.wm-,.'n9. eom E-mail address

                                                                                    "3· 910-1111              Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
 and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintifflocated in
 the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

            "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
 no jurisdiction over this matter or over the defendant or the defendant's property.

         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
 a summons or of service.

            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
 and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
